                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 RAW STORY MEDIA, INC., ALTERNET
 MEDIA, INC.,

       Plaintiffs,
                                                        No. 1:24-cv-01514-CM
       v.

 OPENAI, INC., OPENAI GP, LLC,
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, and OPENAI
 HOLDINGS, LLC,

       Defendants.


       NOTICE OF PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY

       Pursuant to Rule V.D of this Court’s Individual Practices and Procedures, for the reasons

set forth in the accompanying memorandum, Plaintiffs respectfully move for leave to file a short

sur-reply to address new arguments raised in Defendants’ reply in support of their motion to

dismiss.
      /s/ Matthew Topic

      Jonathan Loevy (pro hac vice)
      Michael Kanovitz (pro hac vice)
      Lauren Carbajal (pro hac vice)
      Stephen Stich Match (No. 5567854)
      Matthew Topic (pro hac vice)

      LOEVY & LOEVY
      311 North Aberdeen, 3rd Floor
      Chicago, IL 60607
      312-243-5900 (p)
      312-243-5902 (f)
      jon@loevy.com
      mike@loevy.com
      carbajal@loevy.com
      match@loevy.com
      matt@loevy.com

      Counsel for Plaintiffs

      Dated: May 23, 2024




-2-
